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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA


 THOMAS GRANINO

                                         Plaintiff,
                                                                              Case No. 0:10-cv-61307-MGC
 v.

 NCO FINANCIAL SYSTEMS, INC.,

                                         Defendant.
                                                                   /

                                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

              Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff, Thomas Granino, and

 defendant, NCO Financial Systems, Inc., (“NCO”), hereby jointly stipulate to the

 dismissal with prejudice of plaintiff’s claims against NCO with each side to bear its own

 fees and costs.

              Dated, this 6th day of August, 2010.


 /s/Andrew I. Glenn                                                    /s/Kenneth C. Grace
 Andrew I. Glenn, Esq.                                                 Kenneth C. Grace, Esq.
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 Counsel for Plaintiff,                                                 Counsel for Defendant,
 Thomas Granino                                                         NCO Financial Systems, Inc.

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